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4:09-CV-219

(ORDER LIST: 586 U.S.) United States Courts

Southern District of Texas
FILED

August 02, 2019

WEDNESDAY, JANUARY 30, 2019
CERTIORARI DENIED David J. Bradley, Clerk of Court
18-7650 JENNINGS, ROBERT M. V. DAVIS, DIR., TX DCJ
(18A775)
The application for stay of execution of sentence of death

presented to Justice Alito and by him referred to the Court is

denied. The petition for a writ of certiorari is denied.
Case 4:09-cv-00219 Document 66 Filed on 08/02/19 in TXSD Page 2 of 2

United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700

CLERK 600 S. MAESTRI PLACE
NEW ORLEANS, LA 70130

August 02, 2019

Mr. David J. Bradley

Southern District of Texas, Houston
United States District Court

515 Rusk Street

Room 5300

Houston, TX 77002

No. 19-70005 Robert Jennings v. Lorie Davis, Director
USDC No. 4:09-CV-219

Dear Mr. Bradley,

Enclosed is a copy of the Supreme Court order denying certiorari.

Sincerely,

LYLE W. CAYCE, Clerk

CProrsuna, Q. oagglaan

Charlene A. Vogelaar, Deputy Clerk
504-310-7648

 
